                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-149

                                           No. COA20-211

                                      Filed 20 April 2021

     Burke County, Nos. 18 CRS 1393-94

     STATE OF NORTH CAROLINA

                  v.

     CAMERON DIAMOND DEJUAN WALTON


           Appeal by defendant from judgment entered 8 October 2019 by Judge Julia

     Lynn Gullett in Burke County Superior Court.           Heard in the Court of Appeals

     23 February 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General T. Hill Davis,
           III, for the State.

           Helton, Cody &amp; Associates, by Blair E. Cody, III, for defendant.


           ARROWOOD, Judge.


¶1         Cameron Diamond Dejuan Walton (“defendant”) appeals from judgment

     entered 8 October 2019 following his guilty plea to felony trafficking in opium.

     Defendant contends that the trial court erred in denying his motions to suppress and

     dismiss and in denying his request to make an offer of proof. For the following

     reasons, we affirm the trial court’s judgment.

                                      I.       Background
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¶2         On 13 December 2018, a Burke County grand jury indicted defendant for

     trafficking in opium or heroin by possession; possession with intent to manufacture,

     sell, or deliver cocaine; carrying a concealed weapon; and possession of a controlled

     substance on prison/jail premises. Defendant filed a motion to suppress the evidence

     supporting his indictment on 12 August 2019. On 30 August 2019, defendant filed

     an amended motion to suppress, and on 2 October 2019 defendant filed a “Motion to

     Dismiss/Suppress.”

¶3         Defendant’s motions were heard at the 7 October 2019 criminal session of

     Burke County Superior Court. The relevant facts from the suppression hearing are

     as follows.

¶4         On 5 April 2018, Officer Jesse Simmons (“Officer Simmons”) of the Valdese

     Police Department observed a gold four-door Lexus traveling at an estimated 45 miles

     per hour in a 35 mile per hour zone shortly after midnight. Officer Simmons verified

     the speed with a radar gun and upon following the vehicle observed that he could not

     see inside the vehicle’s windows. Officer Simmons initiated a traffic stop in a nearby

     parking lot.

¶5         Upon approaching the vehicle, Officer Simmons noted that defendant was the

     driver and sole occupant and informed defendant that he had been stopped for

     speeding and window tint. Officer Simmons observed that the windows were not

     illegally tinted but were instead darkened by electric window shades. While speaking
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     with defendant, Officer Simmons noticed “a slight odor of marijuana coming from the

     car[,]” that seemed “covered up with some kind of cologne.” At the hearing, Officer

     Simmons testified that he had received training in the detection of marijuana by

     scent.

¶6            After the initial conversation, Officer Simmons returned to his car to begin

     checking the status of defendant’s driver’s license and to determine whether

     defendant had any warrants.         Officer Simmons also called Deputy Tim Branch

     (“Deputy Branch”) of the Burke County Sheriff’s Office to bring his K-9 unit to

     perform a drug sniff of defendant’s vehicle. Officer Tyler Angley (“Officer Angley”) of

     the Valdese Police Department was also dispatched to serve as a cover officer during

     the stop.

¶7            Officer Simmons returned to defendant’s vehicle to perform a field sobriety test

     on the basis of defendant’s speeding and erratic turn into the parking lot. Officer

     Simmons noted that the scent of cologne had faded and the odor of marijuana had

     grown stronger. After defendant got out of his car, Officer Simmons administered

     the horizontal gaze nystagmus (“HGN”) field sobriety test and observed no sign of

     impairment. While administering the test, Officer Simmons informed defendant that

     he “smelled marijuana coming from the car[,]” which defendant denied.

¶8            Officer Simmons asked defendant to return to his vehicle, and Officer Simmons

     returned to his car to issue a written warning for speeding and unsafe movement.
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       While Officer Simmons was in his car writing the warning ticket, Deputy Branch

       arrived on the scene with his dog and performed a sniff search of defendant’s vehicle.

       The dog alerted to the presence of narcotics in defendant’s vehicle.

¶9           After Deputy Branch informed Officer Simmons that the dog had alerted on

       defendant’s car, Officer Simmons returned to defendant’s vehicle and asked “if there

       was anything he would like to tell me about in the vehicle.” Defendant said no.

       Officer Simmons asked defendant to step out of the vehicle, but defendant refused;

       when Officer Simmons opened the car door and repeated his request, defendant shut

       and locked the door and “placed his hands on the gear shifter as if he was going to

       put the car into gear.”    Officer Simmons requested backup and drew his taser,

       advising defendant that he would be tased if he did not exit the vehicle. Defendant

       then exited the vehicle.

¶ 10         Officer Simmons asked defendant if there was anything in the vehicle.

       Defendant stated that there was a gun under the seat. Officer Simmons entered the

       vehicle to retrieve the gun, and in a subsequent search found cocaine, digital scales,

       synthetic opioids, and $1,483.00 in cash.

¶ 11         The time elapsed between the initial stop and defendant’s refusal to exit his

       vehicle was sixteen minutes. The time elapsed between the initial stop and the

       arrival of the police dog was twelve minutes. The police dog and his handler were at

       the scene for a total of eight minutes, and the dog took less than one minute to
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       perform the sniff.

¶ 12         At the hearing, the State introduced evidence regarding the training and

       reliability of the police dog. Deputy Branch testified that the dog was certified for

       narcotics detection by both the United States Law Enforcement Canine Association

       and the North American Police Working Dog Association.

¶ 13         Defendant’s trial counsel offered the testimony of Officer Angley, the cover

       officer at the scene, and Toni Bartlett (“Bartlett”), whose home defendant had left

       just prior to being stopped. This testimony was offered to provide evidence of the

       relationship between Officer Angley and Bartlett’s daughter, but most of the evidence

       was excluded by the trial court. Defendant was allowed to make an offer of proof with

       a limited scope not to include proof related to any relationship between Officer Angley

       and Bartlett’s daughter.

¶ 14         At the conclusion of the hearing on 8 October 2019, the trial court denied

       defendant’s motion to suppress. Defendant subsequently pleaded guilty to the charge

       of felony trafficking in opium or heroin by possession with the remaining charges

       dismissed.   The trial court sentenced defendant to a term of 16 to 29 months

       imprisonment, suspended on the condition that defendant serve 30 months of

       supervised probation, as well as an intermediate sanction of 7 months imprisonment.

                                         II.    Discussion

¶ 15         Defendant contends that the trial court erred in denying the motions to
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       suppress and to dismiss, in denying defendant’s request to make an offer of proof

       during the pretrial motion to suppress, and in finding that the police dog was

       proficient in detecting drugs.

                               A.       Motions to Suppress &amp; Dismiss

¶ 16         Defendant argues that the trial court erred in denying the motions to suppress

       and to dismiss because there was an improper prolonging of the stop, and the stop

       was made without probable cause or reasonable and articulable suspicion.            We

       disagree.

                                        1.     Standard of Review

¶ 17         “ ‘The standard of review in evaluating the denial of a motion to suppress is

       whether competent evidence supports the trial court’s findings of fact and whether

       the findings of fact support the conclusions of law.’ ” State v. Jackson, 368 N.C. 75,

       78, 772 S.E.2d 847, 849 (2015) (quoting State v. Otto, 366 N.C. 134, 136, 726 S.E.2d

       824, 827 (2012)). A trial court’s findings of fact are conclusive on appeal if supported

       by competent evidence, even if the evidence is conflicting. State v. Campbell, 188

       N.C. App. 701, 704, 656 S.E.2d 721, 724 (2008) (quotation marks and citation

       omitted). “[O]nly a material conflict in the evidence—one that potentially affects the

       outcome of the suppression motion—must be resolved by explicit factual findings that

       show the basis for the trial court’s ruling.” State v. Bartlett, 368 N.C. 309, 312, 776

       S.E.2d 672, 674 (2015) (citations omitted).
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¶ 18          If there is no material conflict in the evidence, this Court may review the

       undisputed factual record when determining whether the trial court’s ruling was

       correct. State v. Lovin, 339 N.C. 695, 706, 454 S.E.2d 229, 235 (1995). “If there is no

       conflict in the evidence on a fact, failure to find that fact is not error[,]” and the finding

       is implied by the ruling of the court. State v. Richmond, 215 N.C. App. 475, 479, 715

       S.E.2d 581, 585 (2011) (citation omitted).

                                      2.     Reasonable Suspicion

¶ 19          A traffic stop is a seizure even if the purpose of the stop is limited and the

       resulting detention is brief. State v. Styles, 362 N.C. 412, 414, 665 S.E.2d 438, 439
       (2008) (quotation marks and citation omitted). The necessary standard for stops

       based on traffic violations is “based on specific and articulable facts, as well as the

       rational inferences from those facts, as viewed through the eyes of a reasonable,

       cautious officer, guided by his experience and training.” State v. Watkins, 337 N.C.

       437, 441, 446 S.E.2d 67, 70 (1994) (citing Terry v. Ohio, 392 U.S. 1, 21-22, 20 L. Ed.

       2d 889, 906 (1968)). To determine whether reasonable suspicion exists, courts must

       look to the totality of the circumstances as viewed from the standpoint of an

       objectively reasonable police officer. State v. Johnson, 370 N.C. 32, 34-35, 803 S.E.2d

       137, 139 (2017) (citations omitted). The reasonable suspicion standard applies to all

       traffic stops for traffic violations “whether the traffic violation was readily observed

       or merely suspected.” Styles, 362 N.C. at 415, 665 S.E.2d at 440. This standard is
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       less demanding than probable cause, and “requires a showing considerably less than

       preponderance of the evidence.” Id. at 414, 665 S.E.2d at 439 (citation omitted). The

       standard is satisfied if an officer reasonably believes that a driver has violated the

       law. Johnson, 370 N.C. at 38, 803 S.E.2d at 141.

¶ 20          In this case, there was competent evidence to support the trial court’s

       determination that Officer Simmons had reasonable suspicion to stop defendant’s car.

       Officer Simmons personally observed defendant driving his car at a speed of 45 miles

       per hour in violation of the posted 35 mile per hour speed limit and verified his

       observation by measuring defendant’s speed with the radar gun. In addition to the

       speeding violation, which would alone be sufficient to satisfy the reasonable suspicion

       standard, Officer Simmons also observed that defendant’s car had what appeared to

       be tinted windows, allowing Officer Simmons to reasonably believe that defendant

       was violating a window tinting law. Accordingly, there was competent evidence to

       support the trial court’s determination that Officer Simmons had reasonable

       suspicion to initiate the traffic stop.

¶ 21          Defendant additionally contends that Officer Simmons impermissibly

       extended the stop beyond his investigation into speeding and window tint to include

       impaired driving. We disagree.

¶ 22          The scope of detention incident to a traffic stop generally must be tailored to

       the purpose of the stop. State v. Kincaid, 147 N.C. App. 94, 98, 555 S.E.2d 294, 298
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       (2001). A traffic stop should generally not extend the duration of the stop beyond the

       time reasonably required to complete the “mission” of the stop, as well as attending

       to related safety concerns. Rodriguez v. United States, 575 U.S. 348, 354, 191 L. Ed.

       2d 492, 498 (2015). An officer may inquire into matters unrelated to the justification

       for the stop, however, “so long as those inquiries do not measurably extend the

       duration of the stop.” Arizona v. Johnson, 555 U.S. 323, 333, 172 L. Ed. 2d 694, 704
       (2009) (citation omitted). Stops may be extended if there is additional reasonable

       suspicion to do so. State v. Heien, 226 N.C. App. 280, 286-87, 741 S.E.2d 1, 5 (2013).

¶ 23         In this case, Officer Simmons initially stopped defendant for speeding and a

       suspected window tint violation and was permitted to continue the stop for the length

       of time required to conduct initial license and warrant checks and to issue the written

       warning. Officer Simmons extended the stop for further investigation into the odor

       of marijuana coming from defendant’s car, which was based on the additional

       reasonable suspicion of Officer Simmons’ observation of a marijuana odor. The time

       elapsed between the initial stop and the arrival of the police dog was twelve minutes,

       and the police dog was on the scene for eight minutes. The police dog performed the

       sniff and alerted on defendant’s car while Officer Simmons was still in the process of

       writing the warning ticket. Because the mission of the initial stop had not yet been

       completed at the time the police dog alerted and in light of the circumstances, we hold

       that there was sufficient reasonable suspicion for the duration of the stop and that
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       the stop was not impermissibly extended.

                                       3.       Probable Cause

¶ 24         Defendant argues there was no probable cause to extend the stop after Officer

       Simmons determined there was not a window tint violation. We disagree.

¶ 25         Probable cause is not a “finely tuned standard” but instead requires “the kind

       of ‘fair probability’ on which ‘reasonable and prudent [people,] not legal technicians,

       act.’ ” Florida v. Harris, 568 U.S. 237, 243-44, 185 L. Ed. 2d 61, 67 (2013). The odor

       of marijuana “may form the basis of probable cause for a warrantless search of a

       vehicle.” State v. Corpening, 109 N.C. App. 586, 589, 427 S.E.2d 892, 894-95 (1993)

       (citing State v. Greenwood, 301 N.C. 705, 273 S.E.2d 438 (1981)). Because illegal

       drugs are easily hidden or destroyed, the odor of marijuana generally creates “exigent

       circumstances justifying an immediate warrantless search.” State v. Yates, 162 N.C.

       App. 118, 123, 589 S.E.2d 902, 905 (2004).

¶ 26         Here, Officer Simmons testified that although he incorrectly suspected that

       defendant had committed a window tint violation, he could smell marijuana with

       increasing intensity throughout the stop. Officer Simmons also provided testimony

       regarding his training and expertise in recognizing the odor of marijuana. The police

       dog’s alert then provided additional probable cause to search the vehicle. Based on

       these circumstances, the trial court did not err in finding that there was probable

       cause to search defendant’s vehicle.
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                                        B.      Offer of Proof

¶ 27         Defendant next contends that the trial court erred in denying defendant’s

       request to make an offer of proof during the pretrial motion to dismiss. We disagree.

¶ 28         For a party to preserve the exclusion of evidence for appellate review, the

       significance of the excluded evidence must be apparent in the record and “a specific

       offer of proof is required unless the significance of the evidence is obvious from the

       record.” State v. Simpson, 314 N.C. 359, 370, 334 S.E.2d 53, 60 (1985) (citation

       omitted). A trial court may limit an offer of proof by allowing counsel to articulate

       what a defendant’s showing would have been by identifying witnesses and presenting

       a detailed forecast of evidence for the record. State v. White, 349 N.C. 535, 567, 508

       S.E.2d 253, 273 (1998).

¶ 29         The ultimate question is whether a defendant is prejudiced by the denial of an

       offer of proof. State v. Chapman, 294 N.C. 407, 415, 241 S.E.2d 667, 672 (1978). The

       essential content or substance of the witness’s testimony must be shown before

       ascertaining whether prejudicial error occurred. Simpson, 314 N.C. at 370, 334

       S.E.2d at 60 (citation omitted). If there is no reasonable possibility that the trial

       court’s denial affected the result, any error in refusing the offer is harmless. State v.

       Mackey, 352 N.C. 650, 661, 535 S.E.2d 555, 561 (2000).

¶ 30         In this case, defendant’s trial counsel was permitted to make an offer of proof

       after articulating that Bartlett’s daughter’s testimony regarding the relationship was
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       relevant in the context of the stop. This offer of proof provided a forecast of evidence

       showing that Officer Angley had a prior relationship with Bartlett’s daughter, that

       Officer Angley had eaten dinner at the Bartlett residence on several occasions, and

       that defendant had left the Bartlett residence just prior to the stop. The trial court

       only refused to allow a specific offer of proof with respect to the particular details of

       the relationship between Officer Angley and Bartlett’s daughter on the grounds that

       these details were irrelevant to the probable cause at issue in the case. However,

       because the fact of the relationship was presented to the court, there was sufficient

       detail forecasted in the offer of proof.

¶ 31          Furthermore, the development of reasonable articulable suspicion was formed

       independently by Officer Simmons; Officer Angley testified that his involvement at

       the scene was “very little,” and his testimony was largely irrelevant to the trial court’s

       findings of fact. Due to the limited connection between the excluded evidence and the

       trial court’s ultimate findings and conclusions, we hold that no prejudicial error

       occurred.

                                     C.     Police Dog Proficiency

¶ 32          Defendant argues that the trial court erred in finding that the police dog was

       proficient in detecting drugs, alleging that the police dog and Deputy Branch were

       not in compliance with department policies as to training and utilization and that the

       police dog’s certification had expired. We disagree.
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¶ 33         The United States Supreme Court has provided a framework for assessing a

       police dog’s reliability, emphasizing that a police dog’s reliability is best measured in

       controlled testing environments:

                    [E]vidence of a dog’s satisfactory performance in a
                    certification or training program can itself provide
                    sufficient reason to trust his alert. If a bona fide
                    organization has certified a dog after testing his reliability
                    in a controlled setting, a court can presume (subject to any
                    conflicting evidence offered) that the dog’s alert provides
                    probable cause to search. The same is true, even in the
                    absence of formal certification, if the dog has recently and
                    successfully completed a training program that evaluated
                    his proficiency in locating drugs.           After all, law
                    enforcement units have their own strong incentive to use
                    effective training and certification programs, because only
                    accurate drug-detection dogs enable officers to locate
                    contraband without incurring unnecessary risks or
                    wasting limited time and resources.

       Harris, 568 U.S. at 246-47, 185 L. Ed. 2d at 69. A defendant may challenge evidence

       of a dog’s reliability by contesting the adequacy of a certification or training program,

       how the dog or handler performed in those assessments, and how the dog or handler

       has performed in the field. Id. at 247, 185 L. Ed. 2d at 69. “The question—similar to

       every inquiry into probable cause—is whether all the facts surrounding a dog’s alert,

       viewed through the lens of common sense, would make a reasonably prudent person

       think that a search would reveal contraband or evidence of a crime.” Id. at 248, 185

       L. Ed. 2d at 70.

¶ 34         In this case, the State presented evidence that the police dog had been certified
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       a total of five times by two different organizations, with three certificates prior to the

       search in this case and two certifications between the time of the search and the

       suppression hearing. Although defendant argues that one of the prior certifications

       was expired at the time of the search, defendant makes no argument that the

       substance of the certification was deficient. In Harris, the Supreme Court found the

       dog to be reliable even though its certification had expired one year prior to the search

       at issue. Id. at 248, 185 L. E. 2d. at 70. The certification in this case similarly expired

       less than one year before the search at issue. Furthermore, the dog in this case did

       still have one non-expired certification still in effect. Accordingly, there was sufficient

       evidence of the dog’s certification and training for the reliability analysis.

¶ 35         Defendant further alleges error with respect to Deputy Branch’s adherence to

       the utilization policy and departmental guidelines, specifically regarding the gap in

       training   between    11 January 2018      and    31 January 2019.      Defendant     also

       acknowledges that North Carolina does not currently require any specific service dog

       training or requirements, although Burke County does require animals to be trained

       as a part of their policy requirements. Although the substance of the police dog’s

       training and Deputy Branch’s adherence to relevant guidelines are part of the overall

       inquiry, whether the dog is reliable is determined in the totality of the circumstances.

       Based on the totality of the circumstances in this case, the trial court did not err in

       finding that the police dog was reliable and proficient.
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                                         III.   Conclusion

¶ 36         For the forgoing reasons, we hold that the trial court did not err in denying

       defendant’s motions to suppress and to dismiss, and further hold that the trial court

       did not otherwise err in defendant’s case.

             AFFIRMED.

             Judges CARPENTER and GORE concur.
